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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
_________________________________________

NORTHEASTERN FINE JEWELRY, INC.,
                                                                JOINT STIPULATION TO
                               Plaintiff,                       REMAND REMOVED ACTION
                                                                AND ORDER THEREON
      -vs-
                                                                No. 1:18-CV-834 (BKS/DJS)
THE HANOVER INSURANCE GROUP, INC., and
MASSACHUSETTS BAY INSURANCE COMPANY,

                      Defendants.
_________________________________________

              Plaintiff NORTHEASTERN FINE JEWELRY, INC., and defendants THE

HANOVER INSURANCE GROUP, INC., and MASSACHUSETTS BAY INSURANCE

COMPANY, by their counsel, stipulate as follows:

              1.      On May 29, 2018 plaintiff commenced this action by filling a

summons and complaint in New York State Supreme Court, Schenectady County.

              2.      Plaintiff served its summons and complaint on defendants by

service on the New York State Department of Financial Services on June 14, 2018.

              3.      On July 13, 2018 defendants filed a petition for removal of this

action to this Court pursuant to U.S.C. §1441, removing this action to this Court. ECF

Doc. No. 1.

              4.      After some discussion, counsel for the parties have agreed that this

action should be remanded back to New York State Supreme Court, Schenectady

County.

              5.      To that end, the parties hereby stipulate that the action be

remanded to back to New York State Supreme Court, Schenectady County.



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              6.      The parties further stipulate that each party shall bear its own

attorneys’ fees and costs with respect to the removal and subsequent remand of this

action pursuant to this stipulation and order.


Dated: August 8, 2018

FOR THE PLAINTIFF:                                      FOR THE DEFENDANTS:



/s/ Christopher P. Flint, Esq.                          /s/ Roy A. Mura, Esq.
Christopher P. Flint, Esq.                              Roy A. Mura, Esq.
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                                               ORDER

              On August 8, 2018, the parties to the above-referenced action filed a Joint

Stipulation to Remand Removed Action. The Court, having reviewed that stipulation and

good cause appearing, orders as follows:

              1.      The parties’ stipulation is approved; and

              2.      Northern      District   of   New York case number 1:18-CV-834

(BKS/DJS) styled NORTHEASTERN FINE JEWELRY, INC. v. THE HANOVER

INSURANCE GROUP, INC., and MASSACHUSETTS BAY INSURANCE COMPANY is

hereby remanded to New York State Supreme Court, Schenectady County.

IT IS SO ORDERED.


        August 9
Dated: __________, 2018                ___________________________________________
                                       Hon. Brenda K. Sannes, U.S. District Court Judge



                                                 -2-
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